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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                               No. 4:14CR00010-18 JLH

HENRY ARECE AKINS                                                            DEFENDANT

                                         ORDER

       The United States’ motion to dismiss is GRANTED. Document #687. The superseding

indictment and second superseding indictment against Henry Arece Akins are hereby dismissed

without prejudice.

       IT IS SO ORDERED this 13th day of May, 2016.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
